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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                      M iam iDivision

                               CaseNumber:88-2406-CIV-M OREN O

  M ICHA EL PO TTIN G ER ,PETER CA RTER,
  and BERRY YOUNG,

                 Plaintiffs,
  V S.

   CITY OF M IAM I,

                 Defendant.

                                     M EM O R AND U M O PINIO N

          bçgolne ofthe things Pottinger has done so wellis create this amazing collaboration
   whereitforced thedifferentstakeholdersto work together.''(Tr.vol.4,29).1Theveracity of
   Judge Steve Leifm an's statem entwas evidentin this proceeding as this Courtheard tim e and

   again aboutthe m yriad ofprogrnm s and aid available to the hom eless in this com m unity.There

   can be no doubt that in the twenty years this ConsentDecree has been in place,the City of

   M iamihasendeavored to eradicatehom elessness.Although M iam ihasmade significantirlroads,

   homelessness unfortunately persists,as itdoes in al1cities in Am erica.Yet,the City continues

   daily to mitigate the effectsin a mannerconsistentwith the Pottinger Agreem ent.The issuesin

   these proceedings are whetherthe City has substantially com plied with the Fottinger Consent
   Decree such thatfederalcourtoversightshould come to an end after 20 years orwhetherthe

   City'streatm entofthehom elessrequiresthisCoul'
                                                 tto continue itsoversightand even to hold the

   City in contempt.

   IReferencestothetranscriptsofthesix-day evidentiaryhearing areasfollows:
          Tr.vol.lrefersto Septem ber24,20I8 transcript
          Tr.vol.2refersto Septem ber25,20l8 transcript
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                                          L BACKGROUND
         The world haschanged dramatically since the originalfiling ofthis complaint 30 years

  ago andtheCityofM iamiisnoexception.ln 1988,JudgeC.ClydeAtkinsentered aninjunction
  to preventthe arrestofthehomelessforbeing hom elessand the seizure oftheirproperty.After

  10 years of litigation, a settlement was reached between the homeless Plaintiffs led by M r.

  Pottingerand the City of M iam i,and the undersigned entered the Consent Decree comm only

  referredto asthePottingerAgreem ent.z

         The 1998 PottingerAgreementwaslaterm odified with the agreem entofboth partiesin

  2014 to exclude sexualoffendersfrom theprotected classofthe homeless.ln thetwenty yearsof

  the Pottinger Agreem ent,the City ofM iam ipolice departmentinstituted departmentalpolicies

  thatprohibited the police officers'pastpracticesofarresting the homeless withoutcause.Asa

   directconsequence ofthe excellentwork done by the attorneysforthe Am erican CivilLiberties

   Union representing thehom eless,the PottingerAgreement1edto,notonly achange in theCity's

   police departm ent,butalso contributed to a totalculturalchange in the way the homelesswere

   treated by a1lCity employees.Thatculturalchange also contributed to the creation ofa M iam i-

   Dade County Homeless Trust supported by taxes and grants that yield an annualbudget of

   approximately $61-65 million to assistthe homeless in various activities,including medical

   assistance,shelters,etc.(Tr.vol.2,24).
          Because of these changed circum stances,the City of M iami seeks term ination of the

   twenty-year old Pottinger Agreem ent.On the other hand,the Plaintiffs not only oppose the


           Tr.vol.3referstoSeptember26,2018transcript
           Tr.vol.4 refersto October24,2018 transcript
           Tr.vol.5 referstoOctober25,2018 transcript
           Tr.vol.6 referstoNovember1,2018 transcript
   2TheoriginalPlaintiffs,M ichaelPottinger,PeterCarter,andBerry Young,aredeceased ortheirwhereaboutsare
   unknown.On December23,2013,theCourtgrantedPlaintiffs'M otion toAddClassRepresentativesand named
   Carole Patman and David Peery asclassrepresentatives.

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   termination ofthe agreem ent,butthey have also m oved to hold the City ofM iamiin contempt

   for violating the agreement by seizing the propel'
                                                    ty of the hom eless in the City's clean-up

   operations.The City's 2018 clean-up operationswere essentialbecause ofthehealth and safety

   concernsstem mingfrom varioushom elessencampm ents.

          The Courtconducted an evidentiary hearing on theparties'motionsovernum erousdays.

   The Courtw illm ake findings of factand separate conclusions of 1aw based on the testim ony of

   the City'switnesses,overthirty hom elesswitnesses,and severalexpertwitnesses in the tleld of

   hom elessness.The Courtis notcharged with çûresolving''the hom eless problem in the City of

   M iami.However,the Courtwas im pressed with allthe services provided to the hom eless by

   many individualsand organizationsasadirectconsequenceoftheculturalchange engendered by

   the Pottinger Agreem ent.A ssuch,there is little dispute thatthe numberofhom elesshasbeen
   reduced countywide from 10,000to around 1s000,although thosenum bersareim precisebecause

   ofthedifticulty ofcountingthehomeless.Ofthose,theoverwhelmingmajority (over600)arein
   the City ofM iami.According to the U.S.Census,the 2017 population estimate forthe City of

   M iami is 463,347 and the estim ate for the County is 2,751,796.3 M eaning,even though the

   City'spopulation isonly about17% ofthe County'soverallpopulation,itishom e to over60%

   ofitshomeless.lndeed,M r.Ronald L.Book,Chairofthe Hom elessTrust,testitied that66% of

   allhomelessindividualsplacedin shelterscomefrom theCityofM iami.(Tr.vol.2at10).
           Thus,there is little dispute thatM iam ihas changed,its hom elesspopulation has declined

   by 90% ,and the City isthe onlv m unicipalitv outof34 in M iami-DadeCounty and the County's

   unincorporated area,4subjectto thePottingerAgreement.Also,both sidesagreethatarresting


   3Seeh/ps://www.census.gov/quickfacts/fact/table/miamicityiorida,miamidadecountyioridipsTo4fzl7.
   4Itis estim ated thatthe population ofthe County'sunincorporated area exceedsonem illion residents,
   approxim ately36% ofthetotalpopulation.Seehlps://www 8.m iam idade.gov/global/disclaim er/about-m iam i-dade-
   county.page.
                                                         3
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  the homeless is never a solution because, apart from the constitutional im pedim ents, it is
  expensive,notrehabilitating,inhumane,and notthe way to dealwith the tichronic''hom eless,

  who sufferfrom mentalillnessesand substance abuse addiction.The solution to those problem s

  isbeyondthescopeofany powergiven to thejudiciary.Yet,theCourtdoeshavethepowerto
  enforcetheparties'agreementand ofcourse,courtsalwayshavethepowerto enforcetheUnited

  StatesConstitution toprotectindividualsfrom unlawfularrestsand seizuresoftheirproperty.

         The dispute in this case is sim ply the impactthatterminating the Pottinger Agreement

  willhave on the constitutionalrightsofthehom elessto be free from harassm ent,arrests,andthe

  unlawfultaking oftheirproperty.During thc lasttwenty years,so m uch has changed in how the

  City ofM iamitreatsitshomelesspopulation thattheCourtfindsthePottingerAgreementshould

  indeed be term inated.The changes in the treatm entofthe homeless are the directresultofthe

   vigorouschallengeby the Am erican CivilLibertiesUnion attorneyson behalfofthehom elessin

   thiscase.
          The Courtis underno illusionsthatthe City ofM iam ihas resolved hom elessness.But,as

   homelessexpertJudge Steve Leifm an,a witness forthe Plaintiffs,testised,M iam ihas becom e

   the bestcity in the country in dealing with the hom eless.The health crisis,aboutwhich there is

   no dispute involving drug use,public sex,and rodentsin hom elessticampsn''mustbedealtwith

   forthe protection ofthehom elessthemselvesand the citizens,including children,who live and

   walk nearthesegatherings.Anyabusebytheauthoritiesissubjecttoindividualcivilrightssuits.
   Unattended personalproperty lefton public sidewalksand fences,which posepublichealth and

   safety concerns,are allowed to be seized and dispensed by the City.Any arrestnotbased upon

   probable cause by the City of Miamipolice departmentwillsubjectthe police to the same
   liability whethertheaggrieved party ishomelessorhasahom e.



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         Therefore,the City ofM iam i'sM otion forTermination isGRAN TED ,and the Plaintiffs'

   M otion to HoldtheCity in ContemptisDENIED.

                                     l1.FIN D IN G S O F FA CT

          Twenty years ago, this Court approved a settlem ent between a class of Plaintiffs,

   consisting ofhom eless individuals,and the City of M iami,where the Plaintiffs lived.United

   States DistrictJudge C.Clyde Atkins found the City ofM iam ihad unconstitutionally arrested

   homelesspersonsforengaging in life-sustaining actsthey were forced to conductin public,such

   as sleeping,cooking,eating,sitting,congregating,and relieving them selves.Judge Atkins found

   theCity (sused the arrestprocessforthe ulteriorpum ose ofdriving homelessfrom public areas.''

   Pottingerv.Cit
                y ofM iami,810F.Supp.1551,1566(S.D.Fla.1992).
          Recognizing the limited role ofthe Courtin fashioning a rem edy,Judge Atkinsissued a

   negativeinjunctionthatprohibitedtheCity from arrestinghomelesspeopleforsleeping,eating,
   lying down,or sitting in two safe zoneshe established in downtown M iami.The injunction
   furtherprohibited City police from destroying personalproperty belonging to the hom eless.The

   injunctiondidnotprohibitpolicefrom arrestinghomelesspersonsforcriminalacts.
          The Settlem entAgreem entultim ately reached in thiscasewastheproductoften yearsof

   litigation,appeals,and extensivem ediation.Afterahearing,thisCoul't,assigned to thecase after

   JudgeAtkins,approved thePottingerAgreement,which hasbeen in placeeversince.

          Asm odified in 2014,the ConsentDecree detailsa protocolthatgoverns City ofM iam i

   police interactions with those experiencing hom elessness. City police m ay not approach a

   hom eless individual,w ho is not com m itting a crim e,unless the approach is to offer services.

   (ConsentDecree,Def.Exh.1 at6-8).5w ith certain exceptions,the police may notarrestor
   threaten to arrestany hom elessperson forcomm itting tilife sustaining conductmisdemeanors,''

   5TheconsentDecreeisatD.E.382.The2014 Addendum isatD.E.525-1.

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  unlessthey firstofferthe individualan available space in a shelterwithin city lim itsorwithin a

  mile ofthose limits,and the individualrefusesthatoffer.1d.at6,8.Upon refusalofavailable

  shelter,thehomelessindividualis subjectto arrestifthere isprobable cause thata crime has
  been comm itted.1d.The ConsentDecreeliststhelife-sustaining conductmisdem eanorsand does

  notprohibitpolice from arresting individualsform isdemeanorsnoton the list.I6L at9-11.M iam i

  policeneed notoffershelterpriorto arresting a homelessindividualcom mitting a felony.Id at

   12.
         TheConsentDecree also offersprotection fortheproperty ofhomelessindividuals. The

   Decree requiresa11City employeesto follow procedures fortaking custody ofpersonalproperty

   and notto destroy personalproperty reasonably recognizable asbelonging to thehom eless.f#.at

   12-13.TheDecreedoesnotpreventthe City from destroying contaminated property,orproperty

   thatotherwiseposesahealth hazard.1d.Theevidenceshowed thatalthough the City hasroutine

   protocolin place,the City outreach team did not have written procedures in place for the

   handling ofproperty when thePlaintiffstlled theirm otion forcontempt.6

          ln itsm otion,the City ofM iamiseeks to term inate the ConsentDecree,oratthe very

   least,modify itin four differentways.One proposed m odification is to exclude whatthe City

   callsthe chronically homelessfrom thepurview ofthedecree.The otherproposed m odification

   would permitashelterspace anywherein M iami-DadeCounty to be offered in lieu ofarrestfora

   life sustaining conductm isdem eanor,ratherthan only a shelter within the city limits orwithin

   onem ile,asiscurrently thecase.The City also proposestwo additionalmodifications,which are

   to include language prohibiting the storage ofa hom eless person's belongingson public property

   and exempting from the Decree actionstakenbythe City in cleaningpublicareas.

   6AfterClosing Arguments,theCity tsled awrittenAdministrativePolicyAddressing TreatmentofHomeless
   Property.Becausethispolicy wasnotintroduced attheevidentialy hearing,theCourtdoesnotrely on itin ruling
   onthemotions.
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         ln itsdiscretion,the Courtheld an evidentiary hearing to resolve the disputed issues of

   fact and to determ ine whether the City carries its burden to show significant changed

   circum stancesand substantialcompliancewith the ConsentDecree.Theinquiry isfact-intensive.

   The trialcoul'tis kivested with broad discretion in granting ordenying discovery,''See King v.

   Greenblatt,149F.3d9,13(1stCir.1998).ThisCourtallowedthepartieslimiteddiscoveryprior
   to conducting theevidentiaryhearing.

              SummaryofchangedCircumstancesintheCf/y ofM iamisince1998
          The testim ony was unequivocalthatthe Pottinger Agreementwas a catalystfor a11the

   stakeholders in M iami-Dade County to devise appropriate program sto com bathomelessness.It

   was an Sdincentive to provide the services for the population.''(Tr.vol.4,8).Judge Steve

   Leifm an,Associate Administrative Judge ofM iam i-Dade County's Crim inalDivision,and the

   Chairofthe Florida Suprem e CourtSteering Com m ittee on M entalH ea1th and Substance A buse

   Courts,testified thatCsgilthasbeen asigniticantmotivatorforallthe stakeholdersto come up
   with appropriateprogramson how to dealwith thispopulation,and ithasworked.''ld.at7.The

   evidence showed that the numbers of hom eless persons in M iam i has plumm eted.1d. The

   evidence also showed thatthe 'tpopulation thatwe have lefton the streetisdifferentthan what

   we had when we first started.''f#. Pottinger was not developed to address the m ental and

   substanceabuseissuesthatremain presentin ourcommunity.ltwasprim arily devised toprevent

   the policefrom arresting the homelessin certain circumstancesand from unlawfully taking their

   property.The evidence showed iiithas achieved thatend.''fJ.at 15.The evidence also showed

   that the City of M iam i is unlikely to revert to those policies given the m yriad of program s

   available to itas a m eans to aid the hom eless.Those program s did notexistw hen Pottinger was

   filed in 1988.Itis true that by the time the ConsentDecree was entered,ten years aher the

   litigation began,the w heels w ere in m otion and hom eless aid initiatives w ere beginning to take

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  shape. In the twenty years since, the proliferation of services and funding available in this
  comm unity has been transform ative causing a 90% reduction in the numberofhom eless.There

  is also a general consensus ofwhat work rem ains and how to chip away at those remaining

  statistics.
                1.Changesin Police Work
         The City began its presentation by calling its Police ChiefJorge Colina,a 28-yearveteran

  ofthe force and the chief since January 2018 and James Bernat,an executive oftk er for the

  Police Department,and an 1l-year veteran with the force.Chief Colina discussed the City's

  interdepartmentaleffortsto aid the hom eless,including the City'snewly form ed Departmentof

  Human Services.(Tr.vol.1,60-61,94).Both testifed regarding the changesin policing since
  Pottingertsinception.N ow,every City oftscerwearsa body camerato record engagementswith

  the public and every officerhas accessto an interactive sim ulatorto teach them how to read in

   differentscenarios.1d.at65-67.Every police vehicle has a com puter,where officerscan watch

   training videosand accessDepartmentalOrders,including those orders explaining how to treat

   thehomeless.ld.at68-69.Allofticersreceivetrainingon Pottingertsrequirem entsand scenario-

   based training so they are well-versed in the appropriate treatmentofthe hom eless.1d.at54-55;

   (Def.Exh.40).
           ChiefColina testified thatthe departm enthas implemented disciplinary proceduressince

   the Pottinger agreementwas entered.1d.at 61.Any police ofticer found to have violated the

   orderissubjectto discipline,upto andincludingtermination orarrest.1d.at47-48.Oneincident
   involving a homeless individualnamed Java Brooks,isunderinvestigation by theD epartm ent's

   lnternalAffairs.1d.at87-88.7


   7TheCourtnotesthatJavaBrookstestifiedthatshehadrecentlychangtdhernameandherpriornamewasJava
   Houston.lnthepleadings,thepartiesusebothnamesinterchangeably.(Tr.vol.3,151).
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          Section VIl1 of the Pottinger Agreem ent requires the City to keep records of police

   interaction with the hom eless. Pursuantto the agreement,officers docum entevery interaction

   with a homeless individual in the form of a Field lnformation Card.(Def.Exh.
   Departmental Order 11,Chapter 10 requires thatthese cards be kept on file with the police

   recordsunitliketheold library cardcataloguing system.(Def.Exh.95,100).Beyonddisputeis
   thatchangesin technology,including body cam erasand cellularphones,renderthisrequirement

   ofa tkcard catalogue''archaic and obsolete.TheCourtobserved videotape evidencedocumenting

   policeinteractionswiththehomelessinthiscase.(P1.Exh.578-37,39).Althoughtherearemany
   contributing factors, the transparency in police work, caused by technology, surely helped

   precipitatethesharp declinein arreststatisticsrelatingtohomelessindividuals.(Tr.vol.4,30).
          J.FundingChangesandtheDevelopmentoftheContinuum ofcare
          The evidence described the changesin funding efforts in M iami-Dade County since the

   inception ofthePottingerAgreement. Ronald L.Book,the Chairm an oftheHom elessTrustfor

   thelastdecade,testified asto the funding effortsto assistthehom elessin thiscomm unity.Prior

   to serving asthe Chairofthe Hom elessTrust,M r.Book chaired the financecomm ittee sincethe

   H om eless Trust's creation over 24 years ago. M r. Book began his w ork 25 years ago on a

   legislativeefforttopassthefoodand beveragetax inM iami-DadeCounty.(Tr.vol.2,5-6).The
   tax wasan outgrow'th oftheGovernor'sComm ission on Hom elessnessand pal4ofa lo-yearplan

   to end homelessnessin M iami-Dade County.1d.The Homeless Trustisthe funding source and

   overseerofthe panoply ofservicesforthehom eless,known asthe continuum ofcare in M iami-

   D ade County.ld Twenty-seven m em bers participate on the public board that adm inisters the

   food and beverage tax dollars,federal and state grants, and other revenue strenm s.Id The

   continuum of care was created to provide a11 the programs and services needed to end



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   hom elessness.1d.at 7.lt startswith the City ofM iami's outreach teams,known as the Green

   Shirts,many ofwhom are formerly hom elessindividualsthemselves.The Green Shirtswork on

   bringing the hom elessinto the continuum ofcare,which includes m edicalcare,m entalhealth

   counseling,substanceand alcoholabusetreatm ent,shelter,and housing.16L at10.

          The City'soutreach efforts are kçcompletely intertwined''with the Homeless Trust.1d.at

   9.The Trust owns two Homeless Assistance Centers,in its partnership with the Chapm an

   Partnership.1d.at10.TheCity'soutreach workersbringthehomelessindividuals(from theCity
   ofM iamiand othergeographicareas)to thesecenters;thehomelesscannotsimplywalk into a
   centerforassistance.1d.The placementsin the Chapman HomelessAssistance Centersare66%

   derived from the City ofM iam i.1d.ln the 24 yearssincethecreation ofthe Hom elessTrust,the

   County started with over 8,000 streetunsheltered homeless individuals,and thatnum ber has

   plumm eted to 1,104.1d.at11.Oftheroughly 1,000 homelessin the County,approxim ately 664

   are in the City ofM iam i.1d.at 11,17. M r.Book testitied therehasbeen a 90% reduction in the

   City ofM iam iand countywidesincethe startofthe Hom elessTrust.1d.at11.

          The Departm entofHousing and Urban Developmentalso providesfunding and dictates

   certain standardsand protocolsforhomelessindividualsto accessthe system.(Tr.vol.2,79).
   The Homeless Trust developed a Coordinated Entry System ,which provides a hotline for
    homeless individuals to call for aid. f#. The evidence showed that hom eless individuals

    sometimeshavetocallthehotlinefor30daysormoreto getintoashelter.1d.at79-804(Tr.vol.
    3,50-51).TheCamillusHouseDayCenterprovidesphonesforthem tocallthehotline.(Tr.vol.

    2,80).
           The moniesgenerated by theHomelessTrustfrom the food and beveragetax areused as

    an elastic band.1d.at 13.W hen the Trustprovides funding to the differentcom munity-based



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                        as Camillus House and the Salvation Arm y, the Trust expects these
  organizations, such
  organizations to use those funds as leverage to obtain additionalgrants and fundsto buy m ore

  bedsand unitsofhousing.1d.Ofthe fundscollected by the Trust,approxim ately 33 to 34% are

  generated in the City ofM iami,which isthedominantsourceoffood and beverage tax revenues
  in the County.B1d The Pottinger Agreem enthasno im pacton the collection ofthe food and

  beveragetax.1é at15.
          Cam illus House is a key componentofthe continuum ofcare. Hilda M .Fernandez,the
   CEO of CamillusH ouse,a M inistry of St.John ofGod,testifed regarding the organization's

   work with the homeless in M iam i-Dade County.1d.at 50.Cam illus House Operates program s
   throughoutthe county serving about1,100 peopledaily.ld at51.Som e oftheprogram sinclude

   theLazarusproject,whichisaprogram thatisacombination ofemployeesfrom CamillusHouse
   and Cam illus Health.Id at52.The medicalassistants,a psychiatric nurse practitioner,and the

   Green Shirts engage the hardestto serve,severely mentally illchronically homeless,medicate

   them onthestreet,and getthem sufficiently stableto enterthecontinuum ofcare.Id.Dr.Edward

   Suarez,the former director of the Lazarus Project,testified thatthe idea is to gethomeless
   individualsstarted on necessary m edication and therapy whilethey awaithousing.1d.at94-95.

           Cam illusalso providesa day centerto serve the streethomeless,allowing individualsto

   come in and access showers,clothing,a hot breakfast,and mail service.Id.at 52.Camillus

   operateswith a sisteragency,Cam illusHea1th Concern,which providesa clinicon the Camillus

    campus,which provideshealthcare servicesto those thatcom e into the day program .1d.at55.

    Cam illus provides temporary storage while people are accessing services on the Camillus


    BThefood andbeveragetax isnotchargedinthecitiesofM iamiBeach,Ba1Harbour,andSurfside,which charge
    tourism-relatedtaxes.TheCity ofM iamiBeach providesfundstobuybedsin thecontinuum ofcareand coordinates
    withtheHomelessTrustinthatregard.W hentheCity ofM iamiBeachpurchasesbeds,ohentimesthebedsarein
    theCityofMiami.(Tr.vol.2,13-15).
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   campus.1d.at52.The organization also provides emergency housing,treatm entprograms,and

   permanent supported housing.Id at 52-53.In providing a11 these services, Cam illus serves

   various populations,including unaccom panied hom eless youth,victim s of human trafficking,

   and veterans.Id
          For the last fifteen years,Cam illus has been providing perm anent housing,which is

   known asthe Housing Firstm odelin the continuum ofcare.fJ.This ishousing forindividuals

   m oving outofhom elessness,wh0 do n0tneed intensive supportservices,and can pay reduced

   rentsto live in facilitiesowned by Cam illus.ld There areon-site cliniciansthatprovide services

    to individualsin perm anentsupported housing.ld at56.

          In addition to Cam illus House's partnership with the City of M iami on the Lazarus

    Project,theCityhasanagreementwith Camillustofundshelterbedsandprovidesupportforthe
    Cam illusDay Centerprogram .Id at56-57.The City funds 75 beds,65 are extended-stay beds,

    and 10 are 24-hour beds.Id at59.Form er City Com missionerM arc Sarnofftestified thatthe

    City provided funding, $10 million dollars,to aid Cam illus House's relocation to its new

    campus.(Tr.vol.2,30).
          J.TheChronicallyHomelessand OutreachEfforts
          The City's outreach efforts have also changed since the inception of the Pottinger

    Agreement. The record dem onstrates agreem ent among City police and adm inistration that

    arresting homelessindividualsisnotan effectiverem edy sincethehom elessindividualsreturn to

    the streets within a short time. The City created outreach operations to m ove hom eless

    individualsoffthe streetsand intothe continuum ofcare.Asofthefallof2018,the City created

    anew departmentcalled theDepartmentofHuman Services.(Tr.vol.1,276).TheDepartment
    includes homeless outreach,a child care center,job training,and employment.1d.at277.
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   Prior to this past fall, the City of M iam i's Department of Veterans Affairs and Homeless

   Servicesprovided outreach tothehom elesscomm unity.

          The City'sGreen Shirts,the homelessoutreach employees,work in the streetsofM iam i

   to movethehomelessinto thecontinuum ofcare orto getthem socialservicesasneeded. Sergio

   Torres,the Director of the new Departm ent of Hum an Services, testified that he conducts

   training sessions forhisdepartment,and otherCity em ployees,who interactwith thehomeless,

   including Parks and Recreation staff and the police department's Neighborhood Enhancem ent

   Teams. (Tr.vol. 1, 233-234).David Rosemond,the Assistant Director of Neighborhood
   Enhancem entTeam s,oversees the Green Shirts to ensure they are working as a cohesive unit.

    (Tr.vol.6,30).Duetotheteams'activeengagementwiththehomeless,theCityofM iamihasa
    contractwith M iam i-Dade County to perform the work countywide.fJ.at 31.The role ofthe

    Green Shirtsis to usherthe hom elessfrom the streets and to the agenciesthatcan bestprovide

    them services.1d.at32.M any know thehom elessindividualsby firstand lastnamesand know

    theircircum stances.1d.at33.The City providesthe Green Shirtswith training on how to engage

    the homeless,how to provide them services,and how to talk to people who find themselves

    homeless.ld.ThemajorityoftheGreen Shirtsareformerly homelessindividuals,orindividuals
    in recovery.ld at34.Som e ofthe Green Shirtshave been working in thatcapacity since the

    inceptionoftheprojectin 1992.Id at35.
           The outreach efforts are not always successful as many hom eless individuals refuse

    available shelter.Officer Jam es Bernat testified that m any prefer to stay hom eless even ifthey

    can obtain available shelter due to m entalillness,substance abuse issues,and other reasons.

    Judge Leifm an,a w itness for the Plaintiffs,also contirm ed the change in the type ofhom eless

    individuals now versus tw enty years ago.Shelters are controlled environm ents with nzles,which



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  m any hom eless individuals do not want to follow.A majority of the unsheltered homeless
  population are <ichronic homelesss''meaning they have been living cm the streetsfor365 daysor

  more,orthey experiencefourinstancesofhomelessnessin athree-yearperiod.(Tr.vol.2,17).
  About67-69% ofthe hom eless population is chronically hom eless.Id This isa population that

  is shelter-resistant and would benefit from a Housing First program ,which is not a shelter

  facility,butratheran individualized home.1d.Thispopulation needsto be incentivized to seek

  housing. M r. Book testified that allowing street feedings and panhandling, as well as the

   Pottingeragreement,itself,a11makeitharderto getthe chronically hom elessinto the continuum

   of care. ld at 17. The County and Jackson M em orial Hospital gave $42 million for the
   construction ofa new facility on 7th Avenue and 22nd streetin the City ofM iam ito help this

   population.ln addition,there is acity-owned property around thatfacility,and a desireto build

   thousandsofnew unitsoflow-incomeaffordablehousing forthechronicallyhomeless.(Tr.vol.

   4,25-26).
           There is agreem entthatmany cllronically hom eless suffer from mentalillness.In 2000,

   Judge Leifm an convened a summ itto address how to betterhandle m entalhealth issuesin the

   criminalcourt.(Tr.vol.4,2).Thesummitdevisedapre-andpost-arrestdiversion system.Asa
   result,M iami-Dade County hasthe largestsquad ofofticerstrained in CrisisIntervention Team

   policing.ld The program provides training for law enforcementthatteaches them to identify

    people in crisis,how to deescalate a situation,how to BakerAct9individuals,and whereto take

    them .Theprogram sprovide an alternativeto arrest.Id
           The sum mit also setup post-arrestdiversion program s for people with serious mental

    illness who get arrested,one for m isdemeanants,one for non-violent felonies, and one for

    9TheFloridaM entalHealthAct,commonlyknown astheBakerAct,allowsfortheinvoluntaryinstitutionalization
    and examinationofan individual.Judges,law enforcement,physicians,and mentalhealth professionalscan initiate
    theprocess.j394.463,Fla.Stat.
                                                        l4
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   competency restoration.1d.at 3. The successofthose programs is evidenced in the statistics.
   Csgl3letween2010and2017,theCityofM iamiandM iami-DadePoliceDepartmentls)combined,
   handled 83,427 m ental illness calls and only m ade 149 arrests.''1d.The recidivism rate has

   dropped from 72 to 20 percentin the m isdem eanorprogram and the felony program has saved

   the County çéabout68 yearsofjailbed dayswith a1ow recidivism rate.''1d.The Competency
   Restoration Alternative Program helpsindividualsgetservicesasopposed to being sentback to

   the street withoutassistance.1d.Before these program s started,there were two shootings per

   m onth ofpeoplewith m entalillnesses.Id at19.Now,there have been tiveorsix in eightyears.

   Policeinjuriesofmentallyi11peoplehasalmostcompletely vanished and ktoutof5,200 callsin
   the City ofM iamilastyearthere were six arrests.''1d. W hen a m entally i11hom eless person

   windsup in court,thestatecourtcallstheGreen Shirtsto aid thehom elessindividual.1d.at33.

          The Green Shirts are also involved in the U niversity of M iam i's N eedle Exchange

   Program . Dr. Edward Suarez testified that it is Florida's tirst and only syringe exchange

    program. (Tr.vol.2,92,96).Aspartofhiswork and dueto histraining in crisisintervention,
    Dr.Suarez can Baker Actwhen he sees an Ssindividualwho's floridly psychotic,responding to

    internalstimulation ...hasn'teaten,hasn'tdrank,nottaking careofhim self,isbeing adangerto

    them selves by way ofself-neglect...to the pointof self-harm .''f#.at 98.Atthatpoint,Dr.

    Suarez can calla City ofM iam iNeighborhood Resource Officerto transportthe individualto

    Jackson Crisis,and that individual gets housed.Id at 99.He says that he has a symbiotic

    relationshipwiththeCity ofMiamipoliceandtothatend,hetestifiedthatldwhenever(thepolice
    oroutreach personnel)getintoajam,beforethey commitanything - whatever,beforethey put
    any handson anybody or anything ofthat sol'
                                              t,1 geta phone call''seeking advice and assistance

    sinceheisfam iliarwith m any hom elessindividuals.1d.



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         The objective oftheNeedle Exchange Program isto testthehomelessindividualsfor
  HlV and HepatitisC.W hen homelessindividualstestpositively forHIV,Dr.Suarez startsHIV

  medicationthatsam eday.ld.at106.Hethen goesoutto find thatperson in thestreet,dayslater,

  to remind them to refilltheirm edications.Id The City ofM iamiaids in the processby helping

  Dr.suarezlocate individualsand place them into shelters.lo16i at107,120. Once the individual

  isin a shelter,Dr.Suarez can getthatperson into H1V care,andthatperson willhaveadedicated

  spaceto storetheHlV medication.f#.at107.

         B.OutreachEffortsandProceduresRegardingProperty
         The Consent Decree contains a section titled'
                                                     .tsDisposition of Property Belonging to

  Hom elessPerson who isarrested.''Itstates:
                 TheCity shallrespectthepersonalproperty ofal1hom elesspeople.
                  The Miami Police Department (and al1 other Departments
                  includingbutnotlimitedtoParksand Recreation and SolidW aste)
                  shall follow their own internal procedures for taking custody of
                  personalproperty. ln no event,shallany city officialorworker
                  destroy any personal property known to belong to a homeless
                  person,or readily recognizable as property of a homeless person
                  (i.e. bedding or clothing and other bclongings organized or
                  packaged togetherin away indicating ithasnotbeen abandoned),
                  except as is permissible by law and in accordance with the
                  departm ent's operating procedure, or if the property is
                  contam inated orotherwise posesahealth hazardto City workersor
                  to m em bersofthe public.

   (Def.Exh.1at12).ThissectionplacestworequirementsontheCitydepartmentswithregardto
   propertyofhomelessindividuals:(1)alldepartmentsmustttfollow theirown internalprocedures
   for taking custody of personalproperty,''and (2) no City employee may destroy property
   belonging to homeless individuals except where perm itted by law, or if the property is

   contam inated.The evidence showed thatthe City outreach workers follow internalprocedures,

   albeitunwritten ones,forthehandling ofproperty.ThePottinger Agreem entdid notrequirethe

   10Dr.suareztestifiedthatGreenShirtW illieRachelhelpshim locatetheseindividuals.(Tr.vol.2at102,107).
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   City to have written procedures for the handling ofproperty.Although a m itten protocol is

   preferable and has finally been prepared,it is important to note thatin the twenty years that

   Pottingerhasbeen in placethere hasnotbeen a com plaintregarding thehandling ofproperty or

   alack ofwritten proceduresuntilnow .
          W hen an outreach workerassistsa homelessindividualinto ashelter,the workerfollows

   a procedure to dealwith the property.(Tr.vol.1,248-49,254).W hen a homelessindividual
   accepts an offer of shelter from an outreach worker,the outreach team assists him in storing

   bulkierproperty thatthe individualcannottake into a shelter.(Tr.vol.6,44).The homeless
   person entering a sheltertakesthe belongings he m ay wantto keep,and the outreach w orkerw ill

    item ize therestofthe itemson a receipt,which the outreach workerthen givesto the hom eless

    individual.Id The outreach workerthen takes thatproperty to the City's storage unit.Id This

    same protocolwould be used when encountering abandoned property in the streets.Id at46-47.

    ln thatsituation,the outreach workerwillgo tlzrough the property and separate item s ofvalue,

    including documentation,medication,phones, or pictures.f#. The outreach worker itemizes

    those thingsand putsthem in abagto taketo storage.1d.Theoutreach workeralso leavesanote

    on the site where the things were located so thatthe individualknowsthathisbelongings were

    gatheredby theoutreachteam .ld;(Def.Exh.28)(photographsofnoteson fences).Thenotice
    contains an address and phone number where the homeless can retrieve theirproperty.1d.The

    departm entstoresthe property as long asthere isspace,and in reality,hasnotthrown anything

    away.(Tr.vol.6,48-49).The outreach team patrolsthose areasfordayswhere the property
    w ould be taken in the event som eone is looking for his belongings. 1d. at 46-47. Only one

    hom eless person,Robert Rhodes, testified that he attem pted to retrieve his property from the

    facility,andwasunabletodoso.(Tr.vol.3,17-18).
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                 2018 Clean-ups
          The City outreach workers unquestionably began clean-up efforts in the downtown

   M iam iarea in 2018 due to health and sanitation concernsfrom the homelessencam pments.The

   City M anager Emilio Gonzalez coordinated various city departm ents to target and clean up

   hotspots.Hisdirection to clean these areasindicatesthatthe work should be done in accordance

   with thePottingerAgreement.(Pl.Ex.601-65).Plaintiffsclaim M r.Gonzalez'sdirective was
   the beginning ofacoordinated attemptto disperse the hom elessfrom the downtown M iam iarea

   and resulted in a violation ofconstitutionalrights.Evidenceshowed thatthe City'seffortswere,

    atleastin some part,dueto complaintsithad received from residents.The Plaintiffs rely on an

    em ailfrom M ilton Vickers,SpecialAssistantto theCity M anager,to m akethispoint.Thetextof

    theemailfrom M ilton Vickersto Police ChiefColinareads:

                  ChiefColina,the Hom eless Outreach staffhave developed a plan
                  to address hom eless encam pm ents and unattended contaminated
                  item s. Itisimperativethatthisbecoordinated with policein these
                  locations and be patrolled in the future to ensure that hom eless
                  individuals do not return to these locations. The Homeless
                  O utreach staff w ill be in full com pliance w ith the Pottinger
                  Agreem ent.Please seethreadbelow .

    (Pl.Exh.601-65 at1);(Tr.vol.1,82).TheDeputy City Attorney Barnaby M in also wrotean
    em ailto other Assistant City Attorneys requesting thatthey follow-up with M ilton Vickers to

    makesuretheclean-upswerePottingercompliant.(P1.Exh.601-4).The evidence showed that
    the City tried to relocate the individuals that were living in the clean-up areas to available

    sheltersandthatindividualsreturned to thespotsaftertheclean-ups.(Tr.vol.3,13)(Testimony
    ofRobertRhodes)(stating hewalkeddown thestreetwith hisbelongingswhiletheCitypower
    washedthestreetand hereturnedlaterthatafternoon and sleptin thesamelocationthatnight.).
    Thatthe City w anted to preventthe squalor and unsanitary conditions from re-m anifesting after

    com pleting a clean-up is not a Pottinger violation. R ather, the clean-up effol'ts inure to the

                                                  l8
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   benetitofthe homeless sleeping on the sidewalks.Overall,the evidence showed the City was

   working to clean thestreetsforthepublicwelfare,while also meeting itsPottingerobligations.

           On September19,2018,the Florida DepartmentofHealth notitied the City ofa specific
   area of concern located betw een 13th and 14th Streets and betw een N W 1Stand 2nd Avenues in

   Overtown,aneighborhood in M iam inorth ofthedowntown area.The Departmentindicated that

   theseareaswereasignificantpublichealth concernandwerebeinginvestigated.(D.E.658-1).11
   The clean-up had to be handled with the assistance ofa specialized biohazard waste clean-up

   crew.Video evidence showed hum an feces,rats,and contam inated item s in the area.Judge

   Leifm an testified that he observed this site underthe expressway overpass,in the Overtown

   section ofM iami,which hedescribed asa publichealth crisis.(Tr.vol.4,12).ddltwaslike a
   horrormovie.There were a 1otofwomen using rightin frontofus.There were needleshanging

   outof differentparts oftheir body.M any were collapsed lying on the streethalfnaked.There

   were ratsrulm ing around,there were needleseverywhere.ltwasan Opioid den ...There wasa

   big concern thatifwe disturbed the site too quickly those illnesses would spread.''Id Judge

   Leifm an testified thata young boy waswalking through the areaon hisway to schooland gothis

    hands on fentanyland died.Id at21.Despite the gravity ofthe situation,there was notone

    arrest.ld at 15,20.W ith regards to this site,Judge Leifm an testified that30 people w ere m oved

    into treatment within a week and property was appropriately taken.He did n0t witness City

    officials seizing and destroying personal property.ld at 20. He noted that from what he

    obselwed,however,thatm attressesand whateverelse wasbeing used for sleep were notfitfor

    human use.1d.Dr.Suarez wasalso involvedin thisclean-up ofthisOvertown site.(Tr.vol.2,
    l10).Once itwas clearthatthere was an H1V network,Dr.Suarez stated thatCity workers


    1lTheCityfiledamotionforjudicialnoticeoftheFloridaDepartmentofHealthletter.ThePlaintiffdidnotoppose
    therequestasto thisparticulardocumentandthemotion isgranted asto thisdocument.
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  understood thatthe homeless individualsin thisarea could notbe dispersed and thatwhen the

  appropriatetim ecam e,they would work to getthepeopleinto shelters.ld at111.
         TheCity protocolforexecuting theclean-upsincludesposting noticesatleastseven days

  priortotheclean-up.(Tr.vol.1,235-36;216-17);(Tr.vol.2,65).lnthetwoweeksleadingupto
  a clean-up,the City outreach workers would provide increased efforts to place the individuals

  livingin certain areasofdowntown in available shelters.ld ;(Tr.vol.6,43).CamillusHouse
  ensurestherearebedsavailablewhentheoutreachteamsidentify areasforclean-ups.(Tr.vol.2,
   64).Theevidenceshowed thereisdaily engagement,which meansthatthe outreach teamsgo
   out daily at different times to offer individuals placem ent opportunities as often as possible

   before the clean-up.lz (Tr.vol.2,65-66);(Tr.vol.6,43-45).M uch like the City's general
   protocolforhandling property,the outreach workersfollowed the same procedure during clean-

   ups. If the outreach workers identify anything im portant - such as identifcation cards or

   medications- they inventory and store the property.They discard contaminated property.(Tr.
   vol.1,248-49).Theoutreachworkersleaveanoticeforpropertytheytaketo storageordiscard.
   (Tr.vol.2,65);(Def.Exh.28).ThePlaintiffsdisputethatthesenoteswereleftand arguethere
   wasno guaranteethatthe owneroftheproperty would receivethesenotes.Theevidenceshowed

   a few exampleswhere the handwritten noteswere placed on a fence,such thatthey would not

    easily blow away.Thehandwritten notesprovided an addresswheretheCity took theunattended

    personalproperty.ld.
                               testified about the clean-ups stating that the team comes with
           Dr. Edward Suarez
    Skengagementtools:bottles ofwater,food,blankets.W e do notgo in there with the idea of...

    dispersingorkickingpeopleoutbecausethatdoesn'thelp.Thatjustspreadstheproblem across
    the city, and we use engagement tools to build rapport. So the clean-up is really rapport

    12Clean-upsarealsoreferredto asencampmentclosuresontherecord.(Tr.vol.2,64).

                                                    20
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   building.''(Tr.vol.2,103).Dr.Suarezexplained thathe showsup with the City employeesto
   perform the clean-up and they ask the individualsto m ove.They offerthem clean clothes.W hile

   the clean-up isgoing on,theindividualsare offered detox atBanyan Behavioralorshelterbeds.

   They work with Camillus and the Hom eless Trust to enslzre there are shelter beds available

   during a clean-up.Id.atl04-105.He also testified thatthey ask individualsto çsmove foralittle

   bituntilweclean everything,and they'remore than welcom eto com eback to thatspot.''ld

          Plaintiffspresented the testimony ofoverthirty hom elessindividuals,including the class

   representative David Peery.Cumulatively,the hom eless witnessestestified aboutwhatoccurred

   during the clean-ups.l3The Plaintiffspresented testim ony thatthe clean-ups in the Lot 16 area

   would start very early in the morning. That appears reasonable so as not to impede both

   vehicularand pedestrian traffic,which increasestremendously asthousandsofem ployeescom e

   to work before 8:00 a.m .The homelesswitnessestestified thatofficers and Green Shirts would

   sound loud noises, shine bright lights, and request the homeless, who are sleeping on the

   sidewalks,moveso thattheycouldpressureclean thesidewalks.(Tr.vol.3,12,42,76).Officer
   Jose Galvez,who w orks with the City's N eighborhood Enhancem ent Team ,testified regarding

   the clean-ups.As a neighborhood resource officer,he goes to com m unity m eetings to address

   issuesinthedowntownM iamiarea.(Tr.vol.1,203).OfficerGalveztestifiedthattheCity starts
   theclean-upsearly in themorning before 8 a.m .ld at204.TheN eighborhood Solidwasteteams

   drive trucksto collectbulky item sin the streetsoron thecurb.ld at207.

          The mannerthatthe City handled personalproperty during the clean-ups is vehem ently

   contested in this proceeding.W hen property is found,the N eighborhood Solid W aste tenm w ill

   13Thereareafew areaswheretheclean-upsoccurred:l)thedowntownareaknownasLotl6,amunicipalparking
   loteastoftheM iam iRiverunderthe1-95underpass,bounded bytheM iam iRiveron theeast,S.W .1StStreetonthe
   north,andS.W .3rdstreetonthesouth;2)Overtownareaunderthe1-395overpassonN.W .11'hand 13t
                                                                                         hstreets
   betweenN.W .15tand2ndAvenues;3)thedowntown areabytheold Macy'son Flaglerstreet;4)N.W .6thstreetby
   thenew Brightlinestationandoneblockfrom thiscourthouse;4)thedowntownareabyGovernmentCenteracross
   thestreetfrom thiscourthouse;and5)PeacockParkinCoconutGrove.
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   take contaminated unattended property,such ascans,food,orsoiled sheets.f#.at210.Officer

   Galvez said the team doesnotdiscard abandoned bookbags,which he saysare leftin them iddle

   ofeverything.ld.ln video footage,theCourtobserved theofficersplacing sheetsand m attresses,

   and trash bags in a pile to be discarded.Again,such actions appear reasonable due to the

   evidence ofcontam ination and the spread ofdiseases.However,unattended bicycles,which pose

   no such health risk,were leftby the clean-up crewson the street.OfficerGalvez testified about

   the need to pressure wash the streeton 1st Streetand Southwest2nd Avenue,because ofthe

   am ount of human feces,urine, and contam inated sheets in the area.1d. at 213.During the

   pressure washing,thehom elesswereasked to move,even ifthey were sleeping,and many went

   across the streetto an em pty parking lot.1d.at214.They were again offered available shelter,

   which is corroborated by the testimony ofHilda Fernandez,who testified thatCam illusHouse

    sets aside bedsduring clean-upsso thatthe affected individuals would have a place to go.Dr.

    Suarez also testified that affected individuals were offered an opportunity to go to a detox

    facility.(Tr.vol.2,64,105).TheNeighborhood Solid W asteteam discarded whateverproperty
    thehomelessno longerwantedto keep and would providebagssothey could carry theirpersonal

    belongings.(Tr.vol.1,215-216).OfticerGalvezcorroboratedthatnoticewouldbepostedfora
    clean-up,although he did notdo ithimself.1d.at216-17,219;(Tr.vol.3,89) (homeless
    individualtestifyingthatdsthereweresignsup sayingthattheyweregoingtobecleaning.'').
           Almostal1the hom elesswitnessestestified thatthey saw City workerstake property.A

    few testified thatthey personally witnessed either their own or other people's property being
    seized.Severalwitnesses testified generally thatthey had witnessed City ofM iam iemployees

    throwingunattended property into trucks.(Tr.vol.5,18).Forthemostpart,thetestimonywas
    that property was kicked around,thrown into piles,and then loaded into trucks when the
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  hom elesswere notpresent,even ifthey had lefttheirbelongingsneatly by the side ofthe fence

  orin amalmerthatdidnotobstructthesidewalks.1d.;(Tr.vol.3,90).Somesaid they askedthe
  City fortheirproperty back,butthattheirrequestsweredenied.1d.at263-64.Plaintiffstestified

  to losing sm allitems,such as identifications,m edicine,eye glasses,cellularphones,personal

  notes from fam ily m embers, and photographs.1d. at 52-57, 83, 90-91, 113, 263.Various

  hom elesspersons,who losttheirproperty,testitied thatthey had leftitem sin eitherabackpack,

  bag,orsuitcase and positioned them outofthe way.1d.at44,193,222.Som e claim thatpolice

  and City workersdid notallow hom elesspeopleto retrieve and savetheproperty ofanotherfrom

  disposal during a clean-up operation.ld. at 76.For example,Eli Halter,a M arine veteran,

  testified,ifyou werenotthere,yourpropertywentintoapickuptruck.f#.at76,
                                                                       .(Tr.vol.4,18).
  RobertRhodes,however,testised thathe was able to grab the belongingsofhisneighbor,who

  sleptnextto him on the streetand leftshortly beforetheclean-up.(Tr.vol.3,15).Obviously,
  there isno excuseforthetaking ofidentification cards,medicine,eyeglasses,cellularphones,or

   photos,asthey,by them selves,do notpresenta health hazard.The dilemm a iswhatto do with

   those item s ifthey are comm ingled with backpacks,mattresses,sheets,food,etc.thatclearly

   pose health and security concerns.The solution to thisdilem ma isthatthese individuals should

   never abandon their identifications,prescriptions,eye glasses,orphones thatare so important.

   Rather,they should keep thoseitem swiththem when they areon them ove.

          Classrepresentative,David Peery,testified asto an incidentinvolving anotherwitness,

   W ilburCauley,which waspartiallyrecordedonavideo.(Tr.vol.5,35-36);(Pl.Exh.578-40-A).
   This incident occurred during a clean-up in the area of concez.
                                                                 n tlagged by the Florida

   D epartm ent of Hea1th in Overtow n. M r.Cauley's property w as up against a fence, neatly

   bundled.Plaintiffs introduced a photograph of the property,which showed its position and
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  contents,includingapersonalbag.(P1.Ex.578-41-A).W hileM r.Cauleywenttoanearby store
  and lefthis property,a City worker kicked his property and then m oved it from its position

  againstthefenceintoapilewith otherproperty.(Tr.vol.3,88-89);(P1.Ex.578-40A).W henMr.
  Cauley returned to the sceneand saw hisproperty in the pile,the City workerdid notallow M r.

  Cauley to retrieve his property.Id The Courtagrees with the City's position that given the

  'thorrormovie''conditions ofsqualor as described by Judge Leifman atthis location,itwould

  have been eminently difficult to discern contam inated property from sanitary property in this

  area.

          C.Ordersto M ove

          Plaintiffsfocuson ordersto homelessindividualsto Skmove on''by mem bers ofthe City

  ofM iam iPolice D epartm ent.The Courtagreesw ith the City thatordersto m ove during clean-up

  operationsare essentialto the public welfare and do notviolatePottinger.The evidence thatthe

  City roused the homeless from slumberin the early m ornings did notindicate the City workers

  intended to harass the hom eless.R ather than harassm ent,the intentw asto clear the areas w here

  the homelessspentthenightbefore the arrivalofvehicleand pedestrian traffic thatistypicalof

  mostcities.The Courtfindsthetestim ony ofDr.Suarez,who isnota City employee,credible as

  to how he observed the City workers treathom eless individuals to achieve the goals ofthe large-

  scalecleaning ofpublicareas.(Tr.vol.2,109)((1l'veneverseen them do any ofthesetypesof
  thingsthey'rebeingaccusedof.l'veonlyseenthem doitwithdignityandrespect....'').
          Putting aside the clean-up operations, Plaintiffs also provided evidence of instances

  where police ordered hom eless individuals to m ove.The Courtviewed a video taken by Java

  Brooks,whom policeasked to movefrom theareaby theo1d M acy'sin downtown Miami.(Pl.
  Exh.578-39). This incidentis admittedly underinvestigation by the City of M iamiPolice
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   InternalAffairs to determine ifdiscipline iswarranted. (Tr.vol.1,88).RafaelVillalonga's
   incidentwasanother,where he wasasked to m ove from his area on Lot l6.Villalonga testified

   thathecomplied with therequest.There isno evidencethathewasthreatened with arrest.(Tr.
   vol.5,8-9). GuthrieChibanguzatestified thathewasorderedbythepoliceto leaveabusstop,
   andhewentacrossthe streetbyaFedEx office.(Tr.vol.3,96).W illieRichardson testifiedthat
   police made him get up and move.(Tr.vol.3, 101-102).The ConsentDecree,however,
   specifically prohibited arrests,and did notspecifically preventofficersfrom asking the homeless

   totemporarily relocate.Plaintiffsconceded atclosingargumentthatthe ConsentDecreedoesnot

   explicitly prohibit officers from ordering homeless individuals to m ove under certain

   circum stances.Plaintiffs,however,argue the ordersto move violated theirconstitutionalrights

   because the orderwasmeantto disperse them from particularlocations.There wasno evidence

   thatupon returning to a particular location afterm oving,orafter a clean-up,thatarrests were

   nnade.

            D.ArrestsofchetwynArcherand TabithaBass
            Atthe heartofthe Pottinger agreementisthe crim inalization ofhomelessness.To that

   end,the ConsentDecree doesnotpermitCity police to arresthomeless individuals engaged in

   life-sustaining misdem eanors without offering them available shelter. Plaintiffs presented

   evidence oftwo arrests m ade simultaneously of Chetwyn Archerand Tabitha Bass,neither of

   w hom testitied in this evidentiary hearing. Police arrested the tw o individuals for the

   misdemeanorofobstructing the sidewalk.(Pl.Exh.578-37,578-38)(police identified a crack
   pipeatthescene,butthearrestsdidnotappearto bedrug-related).Underthe2014 modification
    to the ConsentDecree,ksobstructing passage On sidewalks''is excepted from the listof çklife

    sustaining misdemeanorconduct''iftheentire sidewalk isobstructed andthepolicehasgiven the



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  individualapriorwarning aboutthe situation.Thebody cam era ofOfficerC.Gonzalez captured

  the arrests,however,the video did notshow whattranspired beforehand.The video beginsasthe

  arrestofChetwyn Archerisbeing initiated.The video showsa mattressobstructing the sidewalk

  and no passageway for pedestrians.The individuals' belongings,including garbage bags, a

  shopping cartfilled with clothing and blankets,and abicycleobstructthe passageway.

         The issues for the Court in these proceedings are whether the City of M iam i has

  substantially complied with the purpose of the Consent Decree,such that federal oversight

  should end,orwhetherthe Plaintiffshave mettheirburden to show the City should be found in

  civilcontempt.
                                 111.CON CLUSIONS OF LAW

         Districtcourtsare empowered to m odify orvacateconsentdecrees.H ornev.Flores,557

   U.S.433,447(2009).TheCity arguesthatabsentsystemicviolationsof42U.S.C.j 1983andin
   light of policy and practice changes concerning the homeless,continued enforcem ent of the

   PottingerConsentDecree isinequitable.Plaintiffsargue the City continues to violate the terms

   ofthe D ecree.

          W.TerminationoftheConsentDecree
          A party seeking termination ofa consentdecree bearsthe burden to show Cça significant

   changein eitherfactualconditionsorthelaw.''Rufo v.InmatesofsuffolkCt??znl Jail,502 U.S.
   367,384 (1992)(relyingonFed.R.Civ.P.60(b)(5)).TheSupremeCourthasacknowledgedthat
   consentdccrees Ciare not intended to operate in perpetuity''and calmotcondemn an agency to

   ijudicialtutelage fortheindefinitefuture.''#J.ofEduc.ofOklahoma Cffy Pub.Sch.v.Dowell,
   498U.S.237,249(1991)(schooldesegregation).
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         To determ ine whetherto term inatea consentdecree,the Courtm ustfirstlook to thebasic

  purposeofthedecree.UnitedStatesv.City ofM iami,2 F.3d 1497,1504 (11th Cir.1993)(citing
  Dowelo.Then,theCourtmustdeterminewhetherthereisissubstantialcompliance.''Thatmeans
  the Courtm ust determ ine whether the City of M iam ihas com plied in good faith w ith the core

  purpose of the decree,w hether the pup oses of the litigation have,to the extent practical,been

  achieved,and whether itis necessary or sensible,under current circum stances,for the Courtto

  continue to exercisejudicialoversight.ld ,2 F.3d at 1508 (consentdecree addressed under-
  representationofwomenandminoritiesin City'sworkforce).
         The Eleventh Circuit provided additional guidance w hen it stated that district courts

  should term inate consentdecreeswhen the system had idundergone radicalchanges and was on

  secure footing to continue its progress in the years to com e, w ithout court supervision,''

  notwithstanding the factthatthe system isiknotyetperfectand m ay neverbe.''A.C. v. Walley,

  270 F.App'x 989,992 (11th Cir.2008).In sodoing,thisCourtmay rely onthestate'sdshistory
  ofgood faith and itspresentcommitmentto rem edying remaining problem s.''1d.tsFederalcourts

  should notbe in thebusinessofrunning importantfunctionsofstategovernmentfordecadesata

  time.''1d.(quoting Reynolds v.Mclnnes,338 F.3d 1201,1219 (11th Cir.2003)).lfthis Court
  determinesthatthe City hasimplemented adurable remedy,continued enforcem entisimproper.

  Horne,557U.S.at450 (stating thatfederalcourtdecreesexceed appropriate limitsifthey are
  aimedateliminatingaconditionthatdoesnotviolatefederallaw).
         Federalism concerns also exist in institutionalreform litigation,such as this,w here core

  areas of state responsibility are involved.H orne, 557 U .S. at 448. The Suprem e Court has

  acknowledgedthatSlinjunctionsissued in such casesoften remain in force formany years,and
  the passage of time frequently brings about changed circum stances                that warrant



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   reexamination ofthe originaljudgment.''1d.at447-48.The SupremeCourthasalso noted that
   dûthe dynnm icsofinstitutionalreform litigation differfrom those ofothercases,''where,ttpublic

   officialssometim esconsentto,orrefrain from vigorously opposing,decreesthatgo wellbeyond

   whatisrequiredby federallaw.''f#.çilnjunctionsofthissortbind stateand localofficialstothe
   policy preferences oftheirpredecessorsand m ay thereby im properly deprive future officialsof

   theirdesignated legislative and executivepowers.''1d.at449.
           Itis wellbeyond dispute thatthere have been changed circum stances since the startof

   Pottinger.As detailed,supra,changes in police work,technology,and m ostimportantly the

   implementation ofa dedicated source offunding to the tune of$60 m illion dollars ayearto aid

   thehomelessin thiscomm unity sufficiently establish thattheconditionsin place when Pottinger

   was filed 30 years ago,and even when the ConsentDecree wasentered in 1998,are no longer

   the case.The evidence showed thatthe continuum ofcare available to homelessindividuals in

    M iam i-Dade County isunparalleled in theUnited States.And,thenumbersprove it.Theam ount

    ofhom elessindividualsin M iamihasplumm eted 90% sincePottingerwasentered.Thenumber

    ofarrestshasalso decreased asexplained by Judge Leifm an.
           The dispute in thiscase centers on whetherthe City has substantially complied with the

    corepurpose ofthe PottingerAgreem ent,and the Plaintiffsclaim thatthe City hasnotdueto its

    actions in cleaning up homeless encam pments starting in 2018.14 There is no question after

    hearing the testim ony and view ing the video evidence thatthe City w as com pelled by the gravity

    oftheunsanitary and unhygienicconditionsto literally clean the streetsforthe betterm entofthe

    com m on welfare,including the hom eless,the City'sresidents,and its businesses.

               SubstantialComplianceby thePoliceDepartment


    14PlaintiffshavenotyreviouslyfiledamotiontoenforcetheagreementortoholdtheCityincontempt.Plaintiffs'
    counsellikened thesltuation toaprobation violation thatoccursahersometim e,butisstillpunishable.

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           There can be no doubtthatthe core purpose oîPottinger wasto stop thecrim inalization

   ofhom elessness.The prim ary goalofthislitigation and the ConsentDecree wasto prohibitthe

   City of M iami Police Departm ent from arresting homeless individuals for engaging in life-

   sustaining conductmisdem eanors.'sBecause Pottingerprohibited arrestas a solution to getthe

   hom elessoffthe streets,the City and the comm unity,atlarge,developed a m yriad ofprogram s

   that City Police could tap into when interacting with the hom eless.The County's Homeless

   Trust,the recipientof$60 m illion in tax revenue a year,providesfunding and Camillus House,
   the Chapm an Partnership,and Lotus H ouse provide shelter,m edicalcare,and other services to

   the hom eless in our comm unity. The state courtsystem ,through Judge Leifm an,developed

   diversionprogramstoavoidputtingthementallyillinjails.Thewholesystem,describedsupra,
   and known asthe continuum ofcare hasprovided an outstanding supportnetwork forthe City

   police and other outreach workers. There can be no doubt that the prim ary purpose of the

   agreem ent,to stop the arrests ofthe hom eless forbeing hom eless,has been achieved. The Court

   findsthatthecontinuum ofcare isexactly the type ofdurable remedy thatrequiresthis Courtto

   cease itsoversightoftheseprim arily state functions.Thisisnotto say thatmore cannotbedone

   to achieve the goaloferadicating hom elessness.The goalofthe ConsentDecree,however,was

   notto solvehom elessness.Rather,thegoalofthe ConsentDecreewasto reform themannerthat

   City Police treated thehomeless.Thatgoalhasbeen achieved to the creditofallthe individuals,

   particularly in thislitigation.




   15In fact,theclasscertified byJudgeAtkinsincludestçhom elesspersons...whohavebeen,expecttobe,orw illbe
   arrested,harassed,orotherwiseinterfered withby membersoftheCityofM iam iPoliceDepartmentforengaging in
   theordinary andessentialactivitiesofdaily livinginpublicduetothelack ofotheradequatealternatives.''Pottinger
   v.Cit.vofMiami,720F.Supp.955,959(S.D.Fla.l989).TheConsentDecreefocusesalmostentirelyonthe
   implementation oftraining,policiesandproceduresto ensurethatthepolicedepartm entengagedw ith thehomeless
   population in ahumanemannerand withintheboundsoftheconstitution.(Def.Exh.1).
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         Plaintiffs'evidence,in this case,of two arrests that purportedly violated Pottinger is

  insufficient to convince this Court that a durable rem edy is not in place. The overwhelm ing

  evidence supports the finding thatCity police willnotrevertto arresting individuals,because

  they have an ample supportnetwork to turn to in handling difficultsituations.(Testimony of
  Ronald L.Book)(Tr.vol.2,18)($igTJheCityclearlyunderstandstheneed to treatthehomeless
  population w ith respectand w ith dignity and with a desire to puta pennanentend to itand thatis

  our goal and 1 think that's ourjoint goal.1 don't see that changing should Pottinger be
  discontinued.'').
         The evidence also showed that for those chronically homeless individuals,Pottinger,

  serves as a crutch enabling them to avoid entering the continuum ofcare. The video ofJava

  Brookswasem blem atic ofthiswhere she basically tlaunted the City police,who ordered herto

  move,when she said she wasaware ofherrights.She showed littleincentive to try to getoffthe

  streets.Thetestimony ofRonald Book,Chairm an ofthe HomelessTrust,exemplified thispoint,

  when he wasdiscussing the cllronically homeless population.He said the chronically homeless

  are lsshelterresistant...ifyou m akeiteasierforthem to be on the streets,they're notcoming in.

  lt's why we don't support street feedings.lt's why we don't supportpanhandling.I believe

  Pottinger atthis point,m y opinion,is thatcontinuation doesn'tm ake iteasier for us,itm akes it

  harderforusto tinish w hat'soutthere because it's chronic.''Id at 17. Likew ise,Pottinger hasa

  chilling effecton an officer'sability to provide aid to the hom eless.D r.Suarez said itbest,when

  hesaidS'it'sjustsadto seethatwe'restillstuck in thepastand 1seetheofficersarehandcuffed
  by this. A nd I think that m ightbe why subconsciously 1 brought up that young officer saying

  tl'm going to be on YouTube by the end ofthe day.'lthink that'sPottinger ...getting in her




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  wayofdoingtherightthingbecausesheisafraidforherself,andIcan'tblameherforthat.''(Tr.

  vol.2,116).
         N ot only has the City substantially com plied with the main purpose of Pottinger
  regarding arrests,the City Police Departm enthasim plem ented the required training as setforth

  in section IV ofthe ConsentDecree,which nowadaysincludes scenario based training.(Def.
   Exh.95,95A).TheCityalsocomplieswith itsdepartmentalordersandpoliceofficers,whofail
   to comply,are subjectto investigation by InternalAffairs and discipline. The Departmental
   Orderismodeled aftertheprotocolin Section V1lofthe settlementagreem ent.

          The Departm entalOrder also contains specitic directives as to how the police should

   handle property.W hile the Plaintiffs'evidence regarding the loss ofproperty during clean-ups

   often reflected apolicepresence,there wasno evidencethatany City ofM iamipolice destroyed

   orseized property and there areno internalaffairsinvestigationson the record in thisregard.

          Finally,the police implemented a system to docum ent interactions with the homeless

   know n asField lnform ation Cards,which are used in cases where there is no arrest.Those form s

   are m aintained by the police as required by Section Vl11 of the Settlem ent Agrcem ent.

   Technology hascertainly rendered thisrequirem entobsolete.

          The question that remains is whether the evidence of police ordering hom eless

   individuals to move negates a finding a substantial compliance. Java Brooks and Rafael

   Villalongatestifedthatthe City Policetold them to move from where they were staying atnight,

   withoutcause and withoutoffering shelter.Likewise,Guthrie Chibanguza testified thathe was

   asked to leave abusstop,even though hehad a buspass,and hewalked acrossthe street.W illie

   Richardson testified thatpolice also ordered him to move.Plaintiffs cite City of Chicago v.
   M orales,527 U.S.41(1999)to arguethatthedirectiveto moveviolatesthehomelessperson's


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  fundamentalrightto travel.In C# of Chicago,the Supreme Coul'
                                                             theld thatan ordinance
  violates the due process clause ofthe Fourteenth Am endm entwhere it prohibited street gang

  m em bers from loitering in a public place.To enforce the ordinance,the officers could order the

  gang m embersto disperse,and a failureto comply would be groundsforarrest.1d.,527 U.S.at

  50.The Suprem e Courtfound the ordinance unconstitutionally vague as to w hat conduct was

  proscribed.1d.at53.In so holding,the Suprem eCourtstated thatSûfreedom to loiterforirmocent

  purposes is part of the Sliberty' protected by the Due Process Clause of the Fourteenth

  Am endm ent.'' Id

         Plaintiffs,however,do notlose theirconstitutionalrights by termination ofthe Consent

  Decree.Itbearsnoting thatno othermunicipality in Miami-DadeCounty's34 issubjectto the
  Pottinger Agreementexceptforthe City ofM iam i.And,individualsin M iam i-Dade County are

  notgaining greater constitutionalprotections when they cross from M iam iBeach into M iam i.

  The issue here iswhetherthere has been substantialcompliance with the tenets ofthe Consent

  Decree. The basic tenets of the ConsentDecree prohibit Starrest or detention''of hom eless

  individualsnotengaged in any crim inalactivity.Neithertook place here.The Courtdoes not

  find the evidence ofthese four instances where individuals were ordered to move negates a

  findingofsubstantialcompliance.SubstantialcomplianceSfimpllieslsomething lessthanastrict
  and literalcompliance with the contractprovisionsbutfundam entally itmeansthatthe deviation

  isunintentionaland sominorortrivialasnotisubstantiallyto defeattheobjectwhichtheparties
  intend to accomplish.'''WellsBenz,Inc.v.US.forUseofM ercury Elec.Co.,333 F.2d 89,92
  (9thCir.1964)(citationsomitted).Theallegedactionsofafew policeofficersdonotconstitute
  the type ofdeviation necessary to find a lack ofsubstantialcom pliance,especially w here there is
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   no evidenceofarrestand thecircum stancesunderwhich thepoliceissued thedirectivesto move

   arC unClear.16

           J.SubstantialComplianceby otherCily Departments

           This institutionalreform litigation soughtto revam p police interactions with the City's

   homelesspopulation. 1tseffects,howevtr,are seen throughoutthe City ofM iam i's government

   departm ents.There are three sentences in the Settlem ent Agreementthat address property of

   hom elessindividuals and are written so asto encompassotherCity departm ents,in addition to

   the police. Thatprovision,supra, requires City departm ents to respect the property of the

   hom eless and to follow their own internalprocedures for taking custody ofproperty, lt also

   prohibits city departments from destroying property except as allowed by law , or where the

   property iscontaminated orposesahealthrisk. (Def.Exh.1at12-13).Plaintiffsarguethatthe
   City'sfailure to have m itten proceduresequateswith noncompliance. The agreem ent,however,

   functioned fortwenty yearswithoutincidentand atno tim e did the Plaintiffs complain abouta

   lack ofwritten procedures.The testimony from the City outreach m anagers, Sergio Torres and

  David Rosem ond,wasconsistenton the proceduresthe City workersemploy to determ ine when

  and how to take property.The testim ony also show ed that the D epartm ent of V eterans A ffairs

  and HomelessServices,now the Departmentof Hum an Services, trains the otherrelevantCity

  departm ents, such as the Parks and Recreation Departm ent,on the procedures. (Def.Ex.39).

  W ith respectto section Vl1(F)ofthe ConsentDecree,the Courtfindsthe City in substantial
  compliance.

          Plaintiffs presented testim ony of m any hom eless individuals regarding the taking of

  property during the 2018 clean-up operations that took place in D ow ntow n M iam i and


   16Indeed, ChiefColinatestified thattheCity wasinvestigatingtheinstancew ith JavaBrookstodeterm inewhether
  theCity woulddisciplinethepoliceofficerforhisactions.
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  Overtown.There isno question thatthe City exercised avalid governm entalpowerin addressing

  the sanitation and public health concerns created by the large encampments of hom eless

  congregating and living in certain areas of the City.Plaintiffs argue the City's actions during

  thoseclean-upsnegatea findingofsubstantialcompliance.
         The Citypresented ampleevidencethatnoticewasgiven in advance ofthe clean-upsand

  thatshelterbedswere seclzred to move people from those areasinto the continuum ofcare.The

  City's evidence was corroborated by Dr. Suarez and Hilda Fernandez, who both testified

  regardingtheirjointeffortsandworkwiththeCityinperformingtheclean-ups.Thetestimonyof
  the hom eless witnesses was thatifthey lefttheirbelongings unattended,they were gone when

  they returned. Some witnesses testified that they asked the City workers to recover their

  belongings,butwere denied those requests.Other witnesses,such as Robertlkhodes,testitied

  thathe was able to grab his neighbor's belongings during a clean-up.One witness,EliHalter,

  testified thatifyou wereattheclean-up,youhadtheability to moveyourstuff.(Tr.vol.3,76).
  This testimony is consistent with the inform ation provided by Dr.Suarez,Sergio Torres,and

  David Rosem ond regarding clean-up operations.

          Plaintiffs emphasize that the incident involving W ilbur Cauley's property shows the

   City'snoncompliance with the ConsentDecree. The incidentdescribed by W ilburCauley and

  David Peery,and shown in a video (D.E.578-40-A),took place in the area in Overtown
  underneath the1-395overpass.Judge Leifman describedthatareasaying digijtwasdangerousto
  putanythingon theground.You had to step around theneedlesand theratsthatwerealloverthe

  place.''(Tr.vol.4,34).Theevidenceshowedtheunsanitaryconditionsinthatlocation,anditis
   not difficultto extrapolate the potentialconsequences to the public health,w hich w ould lead a

   City w orker to discard m ore property than not,because he believed it to be contam inated. The



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   squalor present prevented the clean-ups from being easy operations where the City workers

   could examineitem soneby one. Unfortunately,som e medications, identitications,and personal

  notes w ere necessarily discarded in the process and the Courtsym pathizes with thatloss, butthe

  Courtcannot ignore thatthose item s w ere com m ingled w ith food, soiled m aterials,and grbage

  creating a public health crisis.The Courtnoted thatthe bicycles present were not discarded,

  presum ably because a bicycle doesnotpose a health orsafety risk. Thetestimony ofRonald L.

  Book exem plifesthe contentsofthe evidence. He said:çsNobody is evergoing to accuse m eof

  being anything otherthan compassionate and understanding as itrelatesto the plightofthose

  who liveon ourstreets,butoftentimesyou end up in situationswhere there'sbeen hoarding and

  it'smore garbagethan itisproperty ofvalue.''(Tr.vol.2,21).Therefore,theCourtconcludes
  the City hassubstantially complied with the ConsentDecree'sproperty provisions, even though

  there were instances during the clean-ups where City workers mistakenly discarded valuable

  item sdue to the gravity oftheunsanitary conditions.

          #. MotionforContempt
         lnjundions,such asConsentDecrees,areenforcedthrough thecivilcontemptpowerof
  the trialcourt. Reynolds v.G.M Roberts,207 F.3d 1288, 1298(11th Cir.2000).Plaintiffsbear

  the burden of proving by clear and convincing evidence thatthe City violated the Pottinger

  ConsentDecree.See Riccard v.PrudentialIns.Co., 307 F.
                                                      3d 1277,1296 (11th Cir.2002)(CtA
  finding ofcivilcontempt- willfuldisregard ofthe authority ofthe court- mustbe supported by

  clear and convincing evidence.'').To establish thataparty acted in contempt,theparty seeking

  thecontemptrulingmustshow by clearand convincingevideneethat:(1)theallegedlyviolated
  orderwasvalidandlawful,(2)theorderwasclearandunambiguous,and(3)theallegedviolator
  had the ability to comply with theorder. Id ;Wyattv.Rogers,92 F.3d 1074,1078n.8(11th Cir.



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  1996).lfthePlaintiffsdoso,theburdenshiftstotheDefendanttoshow thatithascompliedwith
  theinjunction,orwhyitshouldnotbeadjudgedincontempt.Reynolds,207F.3dat1298.
         Plaintiffs presented evidence ofthree differenttypes ofalleged violations to validate a

  finding ofcontempt. The firstgroup is the directives from police to hom eless individuals to

  move. Thesecond group isevidence relating to the taking ofpersonalproperty by City workers

  during clean-up operationsin 2018. The lastisthe arrestsofthe two individualsforobstruding

  the sidewalk.

         Although the ConsentDecree containsa generalrequirem entthatCity police notharass

  the hom eless,the ConsentDecree and Police Departm entalOrder 11 do notexplicitly prohibit

  the police from ordering homelesspersonsto m ove from theirlocations or from sounding loud

  noises to w ake people before a clean-up operation. It goes w ithout saying that directives to

  m ove during a clean-up operation are essential to facilitate the pressure washing of the

  sidewalks. Pressurt cleaning,while individuals are sleeping on the sidewalks,is obviously

  hazardousto theirsafety. And,notcleaning poseshealth hazardsto them and others.During the

  clean-up operations,the evidence showed that homeless individuals often m oved close by or
                                                             l
  were offered shelter. Dr.Suarez testified thatthe team engagesany hom elessindividualatthe

  clean-up location,helpsthem to discard any garbage thathasaccum ulated around them , offers

  them cleanclothesandblankets.(Tr.vol.2,104).Theteam thenoffersshelterplacementand,if
  the offer for shelter is rejected, the tenm members ask the homeless person to relocate
  temporarily.1d.The City hasan interestin preserving thepublicwelfare,hygiene and sanitation.

  Itm akes sense and the evidence confirm ed that the City's intent w as to m ove these hom eless

  individuals,living in squalor and in encam pm ents,into the continuum of care. The Courtdoes

  notview the City's actions,in thisregard,to be a concerted plan to violate the hom elesscivil



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  rights. And,there is no clear and convincing evidence thatrequiring the homeless to move

  during clean-up operations was a violation of the Decree, especially because the evidence

  showed thatpeoplereturned to thelocationsaftertheclean-upsand no one wasarrested.

         As noted, supra, the Plaintiffs argue there are four instances, outside of a clean-up

  operations where the police were harassing hom eless individuals and ordering them to m ove,

  Java Brooks,RafaelVillalonga,Guthrie Chibanguza,and W illie Richardson. Other than the

  generalprohibition on harassm entcontained in ConsentDecree,there isnothing in the Consent

  Decree or in the Police Departmental Order 11 specifically precluding a police officer from

  instructing som eone to m ove.M oreover, the testimony from the witnesses and the video

  evidence did not show the underlying circum stances under which the officers issued the

  directives. To find civilcontempt,the Courtm usttind by clearand convincing evidencethatthe

  Pottinger Agreem ent clearly and unambiguously said that officers could not ask homeless

  individuals to move or the evidence mustshow that the police officers were harassing these

  individuals.The evidence does notestablish a violation of the D ecree's general statem entthat

  the police notharass the hom eless.Therefoze,the standard forcivilcontem ptisnotm et.

         The Plaintiffs also seek to hold the City in contem ptdue to their handling of hom eless

  individuals'personalproperty.A gain,the Pottinger A greem entallow s ofticers and City workers

  to take tm attended property in accordance w ith their internal procedures and discard property

  thatis contaminated.The ConsentDecree also contains a generalrequirementthatCity police

  and outreach workerstreattheproperty ofthe homelesswith respect.

         The majority ofPlaintiffs'witnessescomplained aboutthe handling ofproperty during
  clean-up operations.W itnesses testified thatworkersm oved in quickly and thatthey had little

  tim e to collecttheirbelongings.Hom eless individualstestified thatthey leftitem s in backpacks,



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  bags,and positioned outoftheway and thattheirproperty waskicked around, thrown into piles,

  and then loaded into trucksto be disposed.Plaintiffs'witnessesalso testified thatCity workers

  routinely did notallow hom elesspersons to retrieve and save the property ofanotherhomeless

  person from disposal.But,itwould be unreasonable for City workersto decide theircourse of

  action based on a non-owner's statement regarding abandoned property. The evidence also

  showed thatCity workerscom plied with theirprocedures, gave notice ahead oftim e,providtd

  outreach to affected individuals,gave homelesspersonsbagsto putaway theirbelongings, and

  left notes at the scene on the fences to let people know the location of property. Som e of

  Plaintiffs'own witnessestestified thatthey were ableto keep the property on them , and retrieve

  property belonging to others.The evidence also show ed the gravity ofthe circum stancesatthese

  clean-up spots,w hich has already been detailed in this order. Even assum ing that,at tim es,the

  City workers could have handled the homeless person's belongingsm ore delicately, the Court

  doesnotfind thata violation ofthe ConsentDecree occurred by clear and convincing evidence.

  The ConsentDecree allowsthe City workersto take property in a m anner consistentwith their

  procedures.The evidence showed that,atleastforthe m ostpart, that w as done,and to discard

  contam inated property. Deciphering whatisand isnotcontam inated inside abag isdifficultand

  going through a bag that possesses contnminated m aterials to fish out identifications and

  m edicationsisnotarequirem entofthe ConsentDecree. The evidencedid notshow an oftqceror

  a workertaking away identifications and m edications,rather it showed thatthose item s were

 unfortunately lost as part of a process of cleaning areas in desperate need of sanitation. The

 Courtdoesnothold the City in contemptforitshandling ofthepersonalbelongings.

        Finally,the Court,for reasons already detailed in this O rder, does notfind the tw o arrests

 are sufficient to m eet the standard that the City violated the decree and should be held in



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   contempt.There isno evidence asto whatpreceded the arrests,and as such,the standard for

   contem ptisnotm et.

                                     HeroesfortheHomeless
         Although the Plaintiffs have opposed the termination ofthis agreement,in a very real

  sense,they are the victors.Their lawsuit,and the work oftheirexcellentand capable counsel,

  under the guidance of the Americans Civil Liberties Union and the Florida Justice lnstitute,

  engendered a revolution in thiscom munity asto thetreatmentand care ofpersonsexperiencing

  hom elessness. Twenty years ago, the undersigned could not have predicted the m yriad of

  servicesm adepossible by theeffortsofthe Hom elessTrustand M r. Ronald L.Book. The Court

  could nothave envisioned the dedication of people,like Dr. Pedro Joe Greer and Dr.Edward

  Suarez,who have taken medicine to the streets ofM iam ito help people and gain theirtrustto

  im provetheircare.The lifetime ofwork by Cam illusCEO HildaFernandez iscomm endable as

  she has worked in a variety of roles to assistthe homeless and better their lives in a truly

  compassionate way.The work ofConstance Collins atthe LotusHouse has also contributed to

  aiding hom eless wom en and children and helped them find solutionsto homelessness. lt goes

  withoutsaying thatthis com munity owes a debtof gratitude to Judge Steve Leifm an, who has

  implemented sustainable program sto help the mentally ill, which willcontinue to im prove their

  circum stances.Sim ply put,Judge Atkins would be proud ofthe results. A ccordingly,itis

         ADJUDGED thatthe Courtterm inatestheConsentDecree and deniesthe motion to hold

  the City ofM iamiin contempt.
                                                                        f s '<
                                                                            ofFebruary2019
         DoxE AND ORDERED in chambersatM iam i,Florida,this              %.
                                                                                               .




                                                                              *
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